Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 1 of 30 Page ID #:650



   1   James N. Kramer (SBN 154709)
       jkramer@orrick.com
   2   M. Todd Scott (SBN 226885)
   3   tscott@orrick.com
       ORRICK, HERRINGTON & SUTCLIFFE LLP
   4   405 Howard Street
       San Francisco, California 94105
   5   Telephone: (415) 773-5700
   6   Facsimile: (415) 773-5759

   7   Kevin M. Askew (SBN 238866)
       kaskew@orrick.com
   8   ORRICK, HERRINGTON & SUTCLIFFE LLP
       777 South Figueroa Street, Suite 3200
   9   Los Angeles, California 90017
  10   Telephone: (213) 629-2020
       Facsimile: (213) 612-2499
  11
       Attorneys for Defendant
  12   PLATINUM FORTUNE, LP
  13
  14                      UNITED STATES DISTRICT COURT
  15                    CENTRAL DISTRICT OF CALIFORNIA
  16                               SOUTHERN DIVISION
  17
  18   PLUTOS SAMA HOLDINGS, INC.            Case No. 8:21-cv-00133-JVS (JDEx)

  19                 Plaintiff,              DEFENDANT PLATINUM
             v.                              FORTUNE, LP’S NOTICE OF
  20                                         MOTION AND MOTION TO
       JAGEX LIMITED; YAN                    DISMISS AMENDED COMPLAINT;
  21   JINGGANG; HUARONG                     MEMORANDUM OF POINTS AND
  22   INTERNATIONAL TRUST CO.               AUTHORITIES IN SUPPORT
       LTD; SHANGHAI HONGTOU                 THEREOF
  23   NETWORK TECHNOLOGY CO.
       LTD; SHANGHAI HONGTOU                 Hearing
  24   NETWORK TECHNOLOGY CO.                Date: July 12, 2021
       LTD TRUST; CHINA MINSHENG             Time: 1:30 pm
  25   TRUST CO. LTD; PLATINUM               Judge: Hon. James V. Selna
  26   FORTUNE, LP; THE CARLYLE              Ctrm: 10C
       GROUP; and DOES 1-20,
  27
                     Defendants.
  28


                  DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 2 of 30 Page ID #:651



   1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on July 12, 2021, at 1:30 p.m. or soon after,
   3   before the Honorable James V. Selma, United States District Judge for the Central
   4   District of California, located at 411 West 4th Street, Santa Ana, CA 92701-4516,
   5   Defendant Platinum Fortune, LP (“Defendant”), will and hereby does move to
   6   dismiss Plaintiff Plutos Sama Holdings, Inc.’s (“Plaintiff”) Amended Complaint
   7   against Platinum pursuant to Rules 12(b)(6) and 9(b) of the Federal Rules of Civil
   8   Procedure.
   9         This Motion is based on this Notice of Motion, the Memorandum of Points of
  10   Authorities below, the other papers and pleadings on file in this action, and any oral
  11   argument this Court may choose to consider.
  12         This Motion is made following the conference of counsel pursuant to Local
  13   Rule 7-3, which took place on June 3, 2021.
  14
  15   Dated: June 14, 2021             Respectfully submitted,
  16                                    ORRICK, HERRINGTON & SUTCLIFFE LLP

  17
                                        By:           /s/ James N. Kramer
  18                                                 JAMES N. KRAMER
  19                                                Attorneys for Defendant
                                                  PLATINUM FORTUNE, LP
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               -i-
                    DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 3 of 30 Page ID #:652



   1                                          TABLE OF CONTENTS
   2
       I.     INTRODUCTION ............................................................................................ 1
   3
       II.    RELEVANT FACTUAL OVERVIEW ........................................................... 3
   4
              A.       Background Regarding Platinum ........................................................... 3
   5
              B.       Other Allegations in the AC .................................................................. 4
   6
              C.       Plaintiff’s Accusations Against Platinum .............................................. 5
   7
   8   III.   THE AC DOES NOT STATE A CLAIM AND SHOULD BE
              DISMISSED ..................................................................................................... 8
   9
              A.       Rule 9(b) Requires Dismissal Because Plaintiff’s Fraud-Based
  10                   Allegations Are Not Specifically Pled ................................................. 10
  11          B.       The AC Does Not Even Generally Aver a Claim ................................ 12
  12                   1.       The AC Does Not State the Elements of a RICO
                                Conspiracy Claim Against Platinum ......................................... 12
  13
  14                            a.        The AC Does Not Allege That Platinum Committed
                                          an Independently Wrongful Overt Act ............................ 13
  15                            b.        The AC Does Not Allege That Plaintiff Was
  16                                      Proximately Injured by Platinum’s Overt Acts ............... 15
                                c.        Even if Plaintiff Had Standing to Allege Its RICO
  17                                      Conspiracy Claim, the AC Fails to State a Claim Under
                                          Section 1962(d) ............................................................... 17
  18
  19                   2.       Plaintiff Fails to Allege Platinum Received Stolen Goods. ...... 18

  20   IV.    CONCLUSION .............................................................................................. 23
  21
  22
  23
  24
  25
  26
  27
  28
                                                             - ii -
                      DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 4 of 30 Page ID #:653



   1                                          TABLE OF AUTHORITIES
   2
       Cases                                                                                                          Page(s)
   3
       In re Actimmune Mktg. Litig.,
   4       614 F. Supp. 2d 1037 (N.D. Cal. 2009), aff’d, 464 F. App’x 651
   5       (9th Cir. 2011) .................................................................................................... 16

   6   Anza v. Ideal Steel Supply Corp.,
         547 U.S. 451 (2006) ..................................................................................... 16, 17
   7
   8   Ashcroft v. Iqbal,
          556 U.S. 662 (2009) ....................................................................................... 8, 11
   9
       Baumer v. Pachl,
  10
         8 F.3d 1341 (9th Cir. 1993) ................................................................................ 18
  11
       Beck v. Prupis,
  12      529 U.S. 494 (2000) ..................................................................................... 13, 14
  13
       Bell Atl. Corp. v. Twombly,
  14      550 U.S. 544 (2007) ....................................................................................... 8, 20
  15   Bulan v. JP Morgan Chase Bank,
  16      2011 WL 13266527 (N.D. Cal. Apr. 6, 2011) ................................................... 17
  17   Canyon Cty. v. Syngenta Seeds, Inc.,
  18     519 F.3d 969 (9th Cir. 2008) .............................................................................. 15

  19   Comwest, Inc. v. Am. Operator Servs., Inc.,
         765 F. Supp. 1467 (C.D. Cal. 1991) ..................................................................... 9
  20
  21   Eclectic Properties E., LLC v. Marcus & Millichap Co.,
          751 F.3d 990 (9th Cir. 2014) .......................................................................... 9, 15
  22
       Fodor v. Blakey,
  23     2012 WL 12893985 (C.D. Cal. Feb. 21, 2012) .................................................... 9
  24
       Forest Ambulatory Surgical Assocs., L.P. v. Ingenix, Inc.,
  25     2013 WL 11323601 (C.D. Cal. Dec. 13, 2013) ................................................. 13
  26   Freeney v. Bank of Am. Corp.,
  27      2016 WL 5897773 (C.D. Cal. Aug. 4, 2016) ..................................................... 20
  28
                                                                - iii -
                        DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 5 of 30 Page ID #:654



   1   GEC US 1 LLC v. Frontier Renewables, LLC,
   2     2016 WL 4677585 (N.D. Cal. Sept. 7, 2016)..................................................... 19

   3   In re Gilead Scis. Sec. Litig.,
           536 F.3d 1049 (9th Cir. 2008) .............................................................................. 8
   4
   5   In re GlenFed, Inc. Sec. Litig.,
           42 F.3d 1541 (9th Cir. 1994) .............................................................................. 10
   6
       Grouse River Outfitters Ltd v. NetSuite, Inc.,
   7
         2016 WL 5930273 (N.D. Cal. Oct. 12, 2016) .................................................... 22
   8
       Hemi Grp., LLC v. City of New York,
   9     559 U.S. 1 (2010) ............................................................................................... 16
  10
       Hennessy v. Infinity Ins. Co.,
  11     358 F. Supp. 3d 1074 (C.D. Cal. 2019) .............................................................. 22
  12   Hill v. Opus Corp.,
  13      841 F. Supp. 2d 1070 (C.D. Cal. 2011) .............................................................. 16
  14   Howard v. Am. Online, Inc.,
  15     208 F.3d 741 (9th Cir. 2000) .............................................................................. 12

  16   Instant Brands, Inc. v. DSV Sols., Inc.,
          2020 WL 5947914 (C.D. Cal. Aug. 20, 2020) ................................................... 22
  17
  18   Kamal v. Cty. of Los Angeles,
         2019 WL 7195903 (C.D. Cal. Nov. 26, 2019) ................................................... 16
  19
       Kearns v. Ford Motor Co.,
  20     567 F.3d 1120 (9th Cir. 2009) .............................................................................. 8
  21
       Lavigne v. Herbalife, LTD,
  22      2019 WL 6721619 (C.D. Cal. Oct. 22, 2019) .................................................... 18
  23   Moore v. Kayport Package Exp., Inc.,
  24     885 F.2d 531 (9th Cir. 1989) ................................................................................ 9
  25   Oscar v. Univ. Students Co-op. Ass'n,
  26     965 F.2d 783 (9th Cir. 1992), abrogated on other grounds by Diaz
         v. Gates, 420 F.3d 897 (9th Cir. 2005) ............................................................... 10
  27
       Pace v. Quintanilla,
  28     2015 WL 652719 (C.D. Cal. Feb. 13, 2015) ...................................................... 11
                                          - iv -
                        DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 6 of 30 Page ID #:655



   1   In re Packaged Seafood Prod. Antitrust Litig.,
   2       338 F. Supp. 3d 1118 (S.D. Cal. 2018) ........................................................ 14, 21

   3   People v. Wooten,
         44 Cal. App. 4th 1834 (1996) ............................................................................. 21
   4
   5   Ryan v. Microsoft Corp.,
         2015 WL 1738352 (N.D. Cal. Apr. 10, 2015) ..................................................... 9
   6
       Sanford v. MemberWorks, Inc.,
   7
          625 F.3d 550 (9th Cir. 2010) ................................................................................ 9
   8
       Schreiber Distrib. Co. v. Serv-Well Furniture Co., Inc.,
   9      806 F.2d 1393 (9th Cir. 1986) ............................................................................ 14
  10
       Semegen v. Weidner,
  11     780 F.2d 727 (9th Cir. 1985) .......................................................................... 9, 12
  12   Siry Inv., L.P. v. Farkhondehpour,
  13      45 Cal. App. 5th 1098 (2020) ............................................................................. 19
  14   Siry Inv. v. Farkhondehpour,
  15      468 P.3d 701 (Cal. 2020) .................................................................................... 19

  16   Solis v. City of Fresno,
          2012 WL 868681 (E.D. Cal. Mar. 13, 2012) ..................................................... 11
  17
  18   Sonterra Cap. Master Fund, Ltd. v. Barclays Bank PLC,
          366 F. Supp. 3d 516 (S.D.N.Y. 2018) .......................................................... 14, 15
  19
       Swartz v. KPMG LLP,
  20     476 F.3d 756 (9th Cir. 2007) .................................................................... 9, 10, 11
  21
       United States v. Perez,
  22     962 F.3d 420 (9th Cir. 2020) .............................................................................. 22
  23   Verdugo-Gonzalez v. Holder,
  24      581 F.3d 1059 (9th Cir. 2009) ............................................................................ 19
  25   Vess v. Ciba-Geigy Corp. USA,
  26      317 F.3d 1097 (9th Cir. 2003) .............................................................................. 8

  27   In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig.,
           2019 WL 4581340 (N.D. Cal. Sept. 20, 2019)................................................... 16
  28
                                                             -v-
                       DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 7 of 30 Page ID #:656



   1   Statutes and Rules
   2
       18 U.S.C.
   3      § 201 ................................................................................................................... 15
          § 201(a)(1) .......................................................................................................... 15
   4
          § 1962(d)............................................................................................. 6, 12, 17, 17
   5      § 1964(c) ................................................................................................. 12, 13, 15
   6   Cal. Pen. Code
   7      § 496(c) ............................................................................................................... 19
          § 777 ................................................................................................................... 22
   8      § 484(a) ............................................................................................................... 21
   9      § 496 ............................................................................................................ passim
          § 496(a) ................................................................................................. 6, 9, 19, 20
  10
       Fed. R. Civ. P.
  11
          Rule 8(a) ................................................................................................. 14, 16, 23
  12      Rule 9(b) ...................................................................................................... passim
  13      Rule 12(b)(6) ................................................................................................ 2, 8, 9

  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                  - vi -
                         DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 8 of 30 Page ID #:657



   1   I.    INTRODUCTION
   2         Plaintiff’s Amended Complaint (the “AC”) alleges an admittedly “outlandish
   3   plot” (AC ¶ 51) about a conspiracy purportedly designed to prevent “Plaintiff from
   4   legally acquiring Jagex, a gaming company” based in England (id. ¶ 2). As alleged,
   5   Plaintiff “won a 55% interest” in Jagex’s Chinese parent company “in September of
   6   2020” (id. ¶ 19), but because of the alleged “bribery and wire fraud,” Jagex was
   7   “ripped . . . from [its] hands” (id. ¶ 3), causing it to file claims of racketeering,
   8   conspiracy and receipt of stolen goods, among other things, against 27 defendants
   9   across three continents.
  10         While Plaintiff named investment fund Platinum Fortune, LP (“Platinum”) as
  11   one of those defendants, the AC does not allege facts to show that Platinum ever
  12   had any role in the alleged wrongdoing. To the contrary, the AC admits that
  13   Plaintiff itself originally formed Platinum for the express purpose of purchasing
  14   Jagex, and that in June 2019, when Plaintiff was still Platinum’s general partner,
  15   Platinum executed an agreement to purchase Jagex’s Chinese parent company,
  16   Shanghai Hongtou Network Technology Co. Ltd. (“SHNT”). The AC also admits,
  17   as it must, that in February 2020, two months before Platinum’s purchase of SHNT
  18   closed in April 2020, Plaintiff sold its interest in Platinum to MacArthur Fortune
  19   Holdings, LLC (“MacArthur”), another investment group.
  20         Perhaps regretting that decision, Plaintiff now insists there was something
  21   “unlawful” about Platinum’s purchase of SHNT. AC ¶ 14. But even if that were
  22   true (and it is not—as the AC admits, the purchase was “validated” by the Shanghai
  23   stock exchange (id. at n. 8)), Platinum’s April 2020 purchase of SHNT could not
  24   have harmed Plaintiff, because Plaintiff had sold its interest in Platinum in
  25   February 2020, and admittedly did not acquire its alleged “55% interest in SHNT”
  26   until five months later, in “September of 2020” (id. ¶ 19, emphasis added). Put
  27   simply, Plaintiff could not have been harmed by Platinum’s April 2020 acquisition
  28   of SHNT because it had no ownership interest over SHNT at that time.

                                                 -1-
                    DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 9 of 30 Page ID #:658



   1         That temporal disconnect is fatal to Plaintiff’s theory of liability. For two
   2   independently dispositive reasons, the claims against Platinum should be dismissed
   3   pursuant to Rule 12(b)(6).
   4         First, while Plaintiff accuses Platinum of conspiring to racketeer and “receipt
   5   of stolen property,” the AC does not offer any particularized facts to support those
   6   salacious claims, as required by Rule 9(b). In fact, as the chart included below
   7   demonstrates, the AC offers only a handful of allegations regarding Platinum at all,
   8   none of which contain the “who, what, when, where, and how” necessary to state a
   9   claim for fraud. As Plaintiff rightly puts it, the AC’s allegations are more like
  10   “‘footsteps’ in the snow” (AC ¶ 31), amorphous and lacking the details required to
  11   survive Rule 9(b) and this Motion to Dismiss.
  12         Second, and in any event, the AC does not even generally aver the elements
  13   required to state a RICO conspiracy or “receipt of stolen property” claim against
  14   Platinum. As to the RICO claim, the AC does not allege that Platinum ever
  15   committed any overt act in furtherance of the alleged conspiracy, let alone that
  16   Plaintiff was somehow harmed by it. Indeed, the only “act” Platinum is alleged to
  17   have committed was the purportedly “unlawful” April 2020 purchase of SHNT, and
  18   it is not alleged to have played any role in the alleged September 2020 conspiracy
  19   to “rip” Plaintiff’s alleged “55% interest in SHNT” from its hands. AC ¶¶ 3, 19.
  20   And even if Plaintiff had standing to pursue its claim, the AC simply does not
  21   allege that Platinum ever entered into a conspiracy agreement.
  22         Plaintiff’s “stolen property” claim under Section 496 of the California Penal
  23   Code (“Section 496”) is equally flawed. Section 496 concerns actual stolen goods
  24   (see Section 496(b) (discussing sale of stolen property at “swap meets”) but
  25   Plaintiff alleges the “stolen property” Platinum received was Jagex, a company. As
  26   Plaintiff alleges, Jagex was “stolen property” because Platinum acquired SHNT in
  27   violation of an order from a Chinese court. But even if that were true (and it is not),
  28   violating a court order would not render Jagex “stolen property” under Section 496,
                                               -2-
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 10 of 30 Page ID #:659



   1   which is to say Plaintiff is trying to pound a square peg into a round hole. The
   2   Section 496 claim also fails because the AC does not allege that (i) Plaintiff was
   3   injured by Platinum’s April 2020 “receipt” of Jagex, (ii) Platinum had actual
   4   knowledge that Jagex was “stolen,” or (iii) any “stolen” property was “received” in
   5   California, where the statute applies.
   6         For these reasons and as further set forth below, the Court should dismiss
   7   Plaintiff’s claims against Platinum. Because the AC is Plaintiff’s second attempt to
   8   state a claim against Platinum, and again fails to plead specific facts (as opposed to
   9   bald conclusions) to support its claims, the AC should be dismissed with prejudice.
  10   II.   RELEVANT FACTUAL OVERVIEW
  11         A.     Background Regarding Platinum
  12         This section will address the relevant background as it pertains to Platinum.
  13         Platinum Fortune, LP is a Delaware limited partnership investment fund that
  14   Plaintiff and Di Xi Huang (“Huang”) formed on April 11, 2019 to invest in SHNT,
  15   “a holding company that holds the 100% interest of Jagex,” a video game company
  16   based in England. AC ¶¶ 8, 19, 23. Plaintiff was the general partner of Platinum
  17   from its inception through February 25, 2020, when Plaintiff chose to sell its
  18   interest in Platinum to MacArthur. Id. ¶ 32.
  19         In June 2019, while Plaintiff was still Platinum’s general partner, the fund
  20   entered into an agreement to purchase SHNT from Shanghai Fukong (“Fukong”),
  21   “a publicly traded company on the Shanghai Stock Exchange” that Defendant Yan
  22   Jinggang (“Yan”) was an 85% shareholder in. Id. ¶¶ 21, 25. According to Plaintiff,
  23   it provided the Shanghai Stock Exchange with the “due diligence” that allowed the
  24   Exchange to “validate the legality of [Fukong’s] sale of SHNT to Platinum.” Id. at
  25   n.8. As alleged, the sale closed and Platinum took ownership of Jagex on April 22,
  26   2020 (or, as alleged, on April 28, 2020), two months after Plaintiff had sold its
  27
  28
                                                -3-
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 11 of 30 Page ID #:660



   1   general partner interest in Platinum to MacArthur. Id. ¶¶ 32, 35(2). 1
   2         B.     Other Allegations in the AC
   3         Though the remainder and bulk of the AC’s factual allegations do not relate
   4   to Platinum, this section will attempt to summarize and bring clarity around
   5   Plaintiff’s allegations as a whole. 2
   6          After Plaintiff sold its general partner interest in Platinum to MacArthur,
   7   Plaintiff continued to independently pursue its acquisition of SHNT. In “early
   8   2020,” Plaintiff learned that two Chinese state-owned creditors of SHNT—Huarong
   9   International Trust Company (“Huarong”) and China Minsheng Trust Company
  10   (“Minsheng”)—had initiated foreclosure proceedings against the company, which
  11   would be followed by an auction. Id. ¶ 33. After failing to bid on the first auction
  12   in March 2020, and while preparing for the second auction, Plaintiff submitted a
  13   “formal offer” to directly purchase Jagex on March 21, 2020. Id. ¶ 35. However,
  14   after submitting this offer, Plaintiff was unable to tender the purchase funds because
  15   its lender’s assets had been frozen, allegedly due to Yan bribing a Chinese
  16   government official. Id. ¶ 36-38. Therefore, a second auction occurred and after no
  17   party bid on the asset again, ownership in SHNT was allegedly judicially
  18   transferred pursuant to an April 17, 2020 Chinese court order. Id. ¶ 38. As
  19   excerpted, the Chinese court order (1) “lift[ed] the freezing of 100% equity in
  20   [SHNT] held by [Fukong] 3” and (2) transferred a 55% equity stake in SHNT to
  21
  22
       1
         The AC contains a second paragraph 35, which follows paragraph 38. For ease of
       reference, this Motion will refer to the second paragraph 35 as “35(2).”
  23   2
         For another attempted summary, Platinum respectfully refers the Court to the
  24   background section of the Motion to Dismiss filed by The Carlyle Group
       (“Carlyle”) (Dkt. No. 19 at 4-8), which precipitated Plaintiff voluntarily dismissing
  25   Carlyle from this case. Dkt. No. 30.
  26
       3
         Though the excerpt specifically refers to equity held by “Shanghai Fortune
       Interactive Entertainment Co., Ltd.” (emphasis added), the AC never introduces a
  27   separate party under that name and given the similarities with “Shanghai Fukong
       Interactive Entertainment Co., Ltd.” (emphasis added), i.e., Fukong, this Motion
  28   assumes that to be another typographical error.
                                               -4-
                    DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 12 of 30 Page ID #:661



   1   Huarong. Id. Though Plaintiff also alleges that the Chinese court granted
   2   ownership to Minsheng, id. ¶ 35(2), the text of the order does not mention
   3   Minsheng once.
   4         In response to Platinum acquiring Jagex in April 2020, the AC alleges that
   5   Huarong and Minsheng brought a lawsuit in the High Court of England to
   6   determine Jagex’s ownership. Id. ¶ 32 n.7, 35(2). After the English court issued a
   7   “Stop Notice” on April 29, 2020 against transferring shares in Jagex, id. ¶ 35(2), the
   8   court dismissed the case in December 2020. Id. ¶ 32 n.7. Thereafter, on January
   9   25, 2021, Carlyle purchased Jagex from Platinum. 4 Id. ¶ 58.
  10         While the litigation in England was pending, seemingly in defiance of the
  11   English court’s stop notice, Plaintiff made two additional attempts to acquire Jagex,
  12   both of which failed. First, Plaintiff attempted to acquire Minsheng’s purported
  13   45% interest in SHNT, but after Yan allegedly interfered, those negotiations fell
  14   apart in June 2020. Id. ¶¶ 39-42. Second, through a newly formed subsidiary,
  15   Plaintiff attempted to acquire Huarong’s purported 55% interest in SHNT in
  16   another auction process in August 2020, but, as alleged, Huarong breached its
  17   obligations under the auction guidelines and the purchase was never completed. Id.
  18   ¶¶ 43-47. Nowhere does Plaintiff tie any of these subsequent attempts to acquire
  19   Jagex to Platinum.
  20         C.     Plaintiff’s Accusations Against Platinum
  21         Plaintiff claims Platinum’s purchase of Jagex was “unlawful” because it
  22   violated an “April 17, 2020 Chinese Court award granting ownership” of Jagex to
  23   other parties. AC ¶ 35(2). Plaintiff also claims that (i) “[b]ased on third-party
  24   statements . . . the funds supplied by Platinum to facilitate the purchase of SHNT
  25   and Jagex were stolen funds,” id. ¶ 30 (emphasis in original), and (ii) the “£5M
  26   4
         Throughout the AC, Plaintiff consistently conflates Platinum, the entity, with
  27   MacArthur, its general partner. See, e.g., id. ¶ 32 n.7. For purposes of consistency,
       this Motion will assume Platinum, the entity, purchased and sold Jagex, even where
  28   the AC states that MacArthur did.
                                               -5-
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 13 of 30 Page ID #:662



   1   bonus pool” paid to senior Jagex personnel in connection with the purchase was a
   2   “clear bribe” intended to cause them to “‘keep quiet’ about the facts that Platinum
   3   never had the money, [and] Platinum had seized control of the company illegally,”
   4   id. ¶ 35(2). On the basis of those accusations, Plaintiff avers claims against
   5   Platinum for Conspiracy to Violate Federal Civil RICO under 18 U.S.C. § 1962(d)
   6   (“Section 1962(d)”) (Second Cause of Action), and Receipt of Stolen Property in
   7   Violation of California Penal Code § 496(a) (“Section 496(a)”) (Ninth Cause of
   8   Action).
   9         Plaintiff’s claims plainly sound in fraud and therefore must be alleged with
  10   specificity, but the AC does not allege any facts, specific or otherwise, to show
  11   Platinum’s purported wrongdoing. As shown in the chart below, which lists the
  12   AC’s allegations against Platinum, the AC barely mentions Platinum at all, and
  13   contains only five paragraphs that allege wrongdoing, which are shaded grey:
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                               -6-
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 14 of 30 Page ID #:663



   1
                              The AC’s Allegations About Platinum
   2
             AC ¶                                   Allegation
   3
               4         Platinum “for [its] own financial gain, purchased a stolen
   4                     asset”
   5           14        Platinum “was the purported vehicle that, on information and
   6                     belief, was used to unlawfully purchase SHNT and Jagex.”

   7           23        “Platinum was formed on April 11, 2019 in Delaware by
                         Plaintiff,” for “the purpose of managing the bidding and
   8                     acquisition of SHNT and Jagex at the scheduled action,” with
                         “Plaintiff serving as the general partner owning 2%.”
   9
  10           25        “Platinum, through Plaintiff, submitted a bid [for SHNT] and
                         won the auction in June of 2019 at the list price of $500MM
  11                     USD, which was subsequently raised to $530MM USD.”
  12           30        “Based on third-party statements, Plaintiff learned that the
                         funds supplied by Platinum to facilitate the purchase of SHNT
  13                     and Jagex were stolen funds”
  14
               32        Plaintiff “negotiated an exit from Platinum through a
  15                     Membership Unit Purchase Agreement, executed on or about
                         February 25, 2020, whereby Plaintiff sold its general partner
  16                     interest in Platinum to MacArthur Fortune Holdings, LLC”
  17          n.8        “[T]he due diligence completed by the Shanghai Stock
  18                     Exchange to validate the legality of the sale of SHNT to
                         Platinum was based on Plaintiff as general partner and
  19                     Plaintiff’s ultimate beneficial owners and on Plaintiff’s
                         capacity as a qualified bidder and owner in due diligence.”
  20
             35(2)       “Platinum . . . unlawfully seized control of Jagex on April 22,
  21                     2020, in violation of the April 17, 2020 Chinese Court award
  22                     granting ownership to Huarong (55%) and Minsheng (45%).”
                         The payment of a “£5M bonus pool” to “senior personnel” of
  23                     Jagex in connection with Platinum’s purchase of Jagex “was a
  24                     clear bribe to the senior officials of Jagex to ‘keep quiet’ about
                         the facts that Platinum never had the money, Platinum had
  25                     seized control of the company illegally and Yan was behind it
                         all.”
  26
            139-140      “Platinum . . . purchased Jagex, an asset stolen or procured
  27                     through theft or extortion,” and “knew that Jagex had been
  28                     stolen or procured through theft or extortion.”

                                                 -7-
                     DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 15 of 30 Page ID #:664



   1          Noticeably absent from these allegations are any facts that establish, for
   2   example, when Jagex was “stolen” or who it was stolen from, why the bonuses paid
   3   to Jagex employees were “clear[ly] bribes,” or, most importantly, how any of it has
   4   anything to do with Plaintiff, which admittedly sold its interest in Platinum in
   5   February 2020, before Platinum’s purchase of SHNT and Jagex was completed. Id.
   6   ¶ 32. Indeed, even if Platinum’s purchase of SHNT and Jagex had violated an
   7   order by a Chinese court (and it did not), how did it have any effect on Plaintiff,
   8   which chose to dispose of its holdings months earlier? And why has Plaintiff not
   9   taken up that violation with the Chinese court that allegedly issued the order? None
  10   of these foundational questions are answered by the AC.
  11   III.   THE AC DOES NOT STATE A CLAIM AND SHOULD BE
              DISMISSED
  12
  13          As the Court is aware, in reviewing a Rule 12(b)(6) motion, the Court need
  14   not accept as true “allegations that are merely conclusory, unwarranted deductions
  15   of fact, or unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049,
  16   1055 (9th Cir. 2008). Rather, the AC must allege “enough facts to state a claim to
  17   relief that is plausible on its face,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
  18   (2007) (emphasis added), and create “more than a sheer possibility that a defendant
  19   has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “[L]abels and
  20   conclusions,” or “naked assertions” do not satisfy Rule 12(b)(6). Id.
  21          Where, as here, the plaintiff alleges claims that sound in fraud, the complaint
  22   must also satisfy the heightened pleading requirements of Federal Rule of Civil
  23   Procedure 9(b), which requires that the plaintiff allege particularized facts
  24   demonstrating the “‘the who, what, when, where, and how’ of the misconduct
  25   charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).
  26   “Any averments which do not meet that standard should be ‘disregarded,’ or
  27   ‘stripped’ from the claim for failure to satisfy Rule 9(b),” Kearns v. Ford Motor
  28   Co., 567 F.3d 1120, 1124 (9th Cir. 2009) (citation omitted), because “conclusory
                                               -8-
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 16 of 30 Page ID #:665



   1   allegation[s] devoid of factual content does not satisfy Rule 12(b)(6)’s pleading
   2   standard, much less Rule 9(b)’s heightened pleading standard.” Ryan v. Microsoft
   3   Corp., 2015 WL 1738352, at *15 (N.D. Cal. Apr. 10, 2015).
   4         Where, as here, a plaintiff alleges a course of fraudulent conduct involving
   5   multiple defendants, it cannot simply “lump multiple defendants together” through
   6   group pleading, Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007), but
   7   pursuant to Rule 9(b) must specify the “role of each defendant in the fraud,”
   8   Comwest, Inc. v. Am. Operator Servs., Inc., 765 F. Supp. 1467, 1471 (C.D. Cal.
   9   1991); see also Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985) (dismissing
  10   complaint for “absence of particularity with respect to the alleged fraudulent
  11   participation” of individual named defendants). Put simply, each defendant must be
  12   given notice of “the particular misconduct which is alleged to constitute the fraud
  13   charged so that [it] can defend against the charge and not just deny that [it did]
  14   anything wrong.” Semegen, 780 F.2d at 731.
  15         Pleading actionable claims under Rule 9(b) is no easy task—nor is it meant
  16   to be, given how “allegations of fraud are particularly injurious to business and
  17   professional reputations.” Comwest, Inc., 765 F. Supp. at 1471. In fact, when
  18   companies like Platinum engage in “transactions that are facially legitimate . . . and
  19   otherwise act as routine participants in American commerce, a significant level of
  20   factual specificity is required to allow a court to infer reasonably that such conduct
  21   is plausibly part of a fraudulent scheme.” Eclectic Properties E., LLC v. Marcus &
  22   Millichap Co., 751 F.3d 990, 997–98 (9th Cir. 2014).
  23         Rule 9(b)’s stringent requirements for alleging fraud apply to RICO claims,
  24   see, e.g., Sanford v. MemberWorks, Inc., 625 F.3d 550, 558 (9th Cir. 2010), Moore
  25   v. Kayport Package Exp., Inc., 885 F.2d 531, 541 (9th Cir. 1989); and claims
  26   alleging knowing receipt of stolen goods under California Penal Code Section
  27   496(a), see Fodor v. Blakey, 2012 WL 12893985, at *13 (C.D. Cal. Feb. 21, 2012)
  28   (“[P]laintiffs’ § 496 claim relies almost entirely on the preceding allegations of
                                               -9-
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 17 of 30 Page ID #:666



   1   fraudulent conduct, and must comply with Rule 9(b) as a result.”). Heightened
   2   standards are particularly apt for claims under RICO which “was intended to
   3   combat organized crime, not to provide a federal cause of action and treble
   4   damages to every tort plaintiff.” Oscar v. Univ. Students Co-op. Ass'n, 965 F.2d
   5   783, 786 (9th Cir. 1992), abrogated on other grounds by Diaz v. Gates, 420 F.3d
   6   897 (9th Cir. 2005).
   7         A.     Rule 9(b) Requires Dismissal Because Plaintiff’s Fraud-Based
   8                Allegations Are Not Specifically Pled
   9         As the chart above shows, the AC makes only a handful of allegations about
  10   Platinum’s purported wrongdoing, averring in conclusory terms that Platinum
  11   “purchased a stolen asset” (AC ¶ 4), “unlawfully purchase[d] SHNT and Jagex” (id.
  12   ¶ 14), purchased SHNT/Jagex with “stolen funds” (id. ¶ 30), “unlawfully seized
  13   control of Jagex . . . in violation of the April 17, 2020 Chinese Court award
  14   granting ownership” to other parties (id. ¶ 35(2)), paid “a clear bribe to the senior
  15   officials of Jagex” (id.), and purchased Jagex knowing it “had been stolen or
  16   procured through theft or extortion” (id. ¶¶ 139-40). 5
  17         But none of those allegations contain any specific “time, place, persons, [or]
  18   statements made,” that are required to state a fraud claim under Rule 9(b). In re
  19   GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1547 n.7 (9th Cir. 1994). For example,
  20   Plaintiff’s RICO allegations against Platinum (see AC ¶¶ 91-93) do not even
  21   reference Platinum by name, do not indicate what action Platinum purportedly took
  22   in furtherance of a conspiracy, do not cite any communication to or from Platinum
  23   that would support claims of a conspiracy and indeed, do not allege how anything
  24   Platinum did caused any specific injury to Plaintiff. Those non-specific allegations
  25   fail Rule 9(b) as a matter of law, and require dismissal. Swartz, 476 F.3d at 765
  26
  27   5
        Plaintiff could have added specificity to its allegations had it followed the Court’s
       order to supplement its AC with a RICO Case Statement, Dkt. No. 8 at 2, but it
  28   chose not to do so.
                                                - 10 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 18 of 30 Page ID #:667



   1   (“[A] plaintiff must, at a minimum, identify the role of each defendant in the
   2   alleged fraudulent scheme.”) (internal quotation marks, brackets, and citation
   3   omitted).
   4         By the same token, Plaintiff asserts Platinum knew Jagex was a “stolen
   5   asset” at the time it was purchased in April 2020 (AC ¶ 14), but there are no
   6   allegations, none, to describe when Jagex was “stolen,” who it was “stolen” from,
   7   how one could “steal” a company, or when Platinum purportedly learned it was
   8   stolen. At most, the AC asserts that Platinum’s purchase of SHNT/Jagex—which
   9   was initiated in June 2019, and “validated” by the Shanghai Stock Exchange (id. ¶
  10   25 & n. 8)—somehow violated an April 17, 2020 order by a Chinese court (id. ¶
  11   35(2)). But again, the AC does not allege specific facts to show how Platinum’s
  12   purchase violated the order, that Platinum was even aware of the order, or, most
  13   importantly, how violating a court order could render a company “stolen.”
  14         Plaintiff’s accusations about “stolen funds” and “clear bribes” have even less
  15   support. Id. ¶¶ 30, 35(2). As to the former, the AC admits the “stolen funds” claim
  16   is “[b]ased on third-party statements,” and not Plaintiff’s own understanding. Id. ¶
  17   30. Allegations of unproven statements taken from unnamed sources cannot be
  18   used to state a claim under Rule 9(b). See, e.g., Cho v. UCBH Holdings, Inc., 890
  19   F. Supp. 2d 1190, 1203 (N.D. Cal. 2012); Pace v. Quintanilla, 2015 WL 652719, at
  20   *7 (C.D. Cal. Feb. 13, 2015). As to the latter, the fact that Plaintiff insists
  21   employee bonuses were actually “clear bribes” does not make it so.
  22         Still other allegations are made on “information and belief” (see AC ¶ 14),
  23   which also cannot be used to satisfy Rule 9(b) as a matter of law. Solis v. City of
  24   Fresno, 2012 WL 868681, at *8 (E.D. Cal. Mar. 13, 2012) (“In the post-Twombly
  25   and Iqbal era, pleading on information and belief, without more, is insufficient to
  26   survive a motion to dismiss for failure to state a claim.”). And the AC also
  27   repeatedly and impermissibly lumps Platinum together with the 26 other
  28   defendants. AC ¶¶ 87-93; Swartz, 476 F.3d at 764. Contrary to the goal of Rule
                                                - 11 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 19 of 30 Page ID #:668



   1   9(b), this group pleading leaves Platinum guessing at which allegations are directed
   2   at it, and which are meant for other defendants. See Semegen, 780 F.2d at 731.
   3         At bottom, Plaintiff has averred very serious accusations of racketeering
   4   against Platinum for purportedly scheming with the other defendants to steal from
   5   Plaintiff. But the AC does not allege any facts to show that Platinum ever took any
   6   specific action or made any specific communication in furtherance of the purported
   7   scheme. As such, the claims must be dismissed pursuant to Rule 9(b).
   8         B.      The AC Does Not Even Generally Aver a Claim
   9         As noted, the AC avers two claims against Platinum, for conspiracy to violate
  10   RICO, AC ¶¶ 87-93, and receipt of stolen property, id. ¶¶ 133-143, both of which
  11   sound in fraud and must be dismissed because they are not specifically pled. But
  12   the AC also fails to even generally aver the claims’ required elements, and must be
  13   dismissed for that reason as well.
  14                 1.    The AC Does Not State the Elements of a RICO Conspiracy
  15                       Claim Against Platinum

  16         The federal RICO provisions make it “unlawful for any person to conspire to
  17   violate” any substantive provision of RICO, 18 U.S.C. § 1962(d), and give a private
  18   right of action for “[a]ny person injured in his business or property by reason of a
  19   violation of section 1962.” 18 U.S.C. § 1964(c) (“Section 1964(c)”). Because
  20   Plaintiff neither has standing to sue Platinum under Section 1964(c), nor states a
  21   conspiracy claim under Section 1962(d), the AC’s conclusory allegations must be
  22   dismissed.6
  23
  24
  25
  26
       6
         The AC also cannot state a claim against Platinum for conspiring to commit
       racketeering without first averring a substantive RICO violation. Howard v. Am.
  27   Online, Inc., 208 F.3d 741, 751 (9th Cir. 2000). Because there are many other
       grounds upon which this Court should dismiss the conspiracy claim, Platinum will
  28   not endeavor here to untangle the web of substantive RICO claims aimed at Yan.
                                               - 12 -
                     DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 20 of 30 Page ID #:669



   1                       a.     The AC Does Not Allege That Platinum Committed an
   2                              Independently Wrongful Overt Act

   3         To have standing to sue under Section 1964(c) for conspiracy to violate
   4   RICO, the plaintiff must show that its injuries were proximately caused by an
   5   “overt act” of the defendant that is independently wrongful under the RICO
   6   statutes. Beck v. Prupis, 529 U.S. 494, 505-06 (2000). An “injury caused by an
   7   overt act that is not an act of racketeering or otherwise wrongful under RICO . . . is
   8   not sufficient to give rise to a cause of action under § 1964(c) for a violation of §
   9   1962(d).” Id. at 505. In other words, “a person injured by an over[t] act done in
  10   furtherance of a RICO conspiracy has no cause of action unless the overt act
  11   proximately causing his injury is itself an act of racketeering.” Forest Ambulatory
  12   Surgical Assocs., L.P. v. Ingenix, Inc., 2013 WL 11323601, at *8 (C.D. Cal. Dec.
  13   13, 2013) (emphasis added).
  14         While the overt act requirement is typically satisfied by the allegations of a
  15   substantive RICO violation, Plaintiff here does not allege that Platinum committed
  16   a substantive RICO violation. Instead, Plaintiff alleges that Yan violated the
  17   substantive provisions of the RICO wire fraud statute, see AC ¶¶ 59-86, and that
  18   Platinum—lumped-in as one of “all Defendants”—somehow conspired with Yan
  19   and thereby violated the RICO conspiracy provision. Id. ¶¶ 87-93.
  20         Here, Plaintiff alleges “[e]ach Defendant committed at least one” of the
  21   following overt acts in furtherance of Yan’s conspiracy to commit wire fraud: (1)
  22   “misleading Plaintiff as to its connection with the enterprise Jagex,” (2) “making
  23   misleading statements to the Plaintiff regarding Huarong's intentions of transferring
  24   its 55% interest in SHNT and Jagex to the Plaintiff,” (3) “facilitating the payment
  25   of all bribes as described above,” and (4) “concealing their intentions to allow Yan
  26   to maintain control of Jagex regardless of actual ownership.” Id. ¶ 91.
  27         As discussed above, these group-pled, conclusory allegations do not satisfy
  28   the heightened pleading requirements of Rule 9(b). But even under the more
                                                - 13 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 21 of 30 Page ID #:670



   1   relaxed standards of Rule 8(a) the allegations do not state a claim against Platinum,
   2   because the acts alleged are not “independently wrongful under any substantive
   3   provision of the [RICO] statute.” Beck, 529 U.S. at 506. Indeed, the AC does not
   4   even try to explain which substantive provisions of the RICO statute were
   5   purportedly violated by Platinum’s alleged acts. See AC ¶¶ 87-93. 7 On that basis
   6   alone the RICO claim must be dismissed.
   7         Plaintiff’s conclusory RICO allegations against Platinum are also largely
   8   refuted by the AC itself. For example, while Plaintiff alleges that it was misled
   9   about Yan’s supposed involvement in the Jagex transaction, the AC admits the
  10   allegedly misleading statements were made by Platinum’s limited partner Huang
  11   (or his alleged agents), not by Platinum. AC ¶¶ 28, 31. Those statements cannot
  12   simply be imputed to Platinum. See, e.g., In re Packaged Seafood Prod. Antitrust
  13   Litig., 338 F. Supp. 3d 1118, 1184 n.36 (S.D. Cal. 2018) (refusing to impute limited
  14   partner actions to the partnership entity).
  15         In any event, those allegedly misleading statements from Huang or his
  16   alleged agent Belle Liu were made from Hong Kong or Australia (where the two
  17   reside, respectively), AC ¶¶ 28, 31, and courts have recognized that the “wire fraud
  18   statute does not have extraterritorial application and may not serve as a predicate
  19   act for a RICO claim premised on foreign-based activities.” Sonterra Cap. Master
  20   Fund, Ltd. v. Barclays Bank PLC, 366 F. Supp. 3d 516, 555 (S.D.N.Y. 2018). It
  21   goes without saying, but a scheme involving foreign residents Huang and Belle Lui
  22   (and, again, not Platinum) misrepresenting the intentions of Yan (presumably, a
  23   Chinese national) and his attempts to control Jagex (an English company) through a
  24   Chinese auction process is indeed “principally foreign in nature and only
  25
  26
       7
         While Plaintiff alleges that Yan engaged in wire fraud, the AC makes no such
       allegation regarding Platinum (AC ¶ 88), and does not even generally allege the
  27   required elements of a wire fraud claim against Platinum, including, for example,
       that Platinum devised a scheme with specific intent to defraud Plaintiff. Schreiber
  28   Distrib. Co. v. Serv-Well Furniture Co., Inc., 806 F.2d 1393, 1400 (9th Cir. 1986).
                                                - 14 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 22 of 30 Page ID #:671



   1   incidentally touche[s] the United States.” Id. at 557.
   2         It should also be noted that at the time the alleged misrepresentations were
   3   made, Plaintiff was then the general partner of Platinum, AC ¶¶ 28, 31, and it is
   4   entirely unclear how a limited partnership, the entity, could mislead its general
   5   partner, who ostensibly operated the limited partnership. Nor does the vague
   6   statement that Platinum “mislead[] Plaintiff as to its connection with the enterprise
   7   Jagex” offer any clarity around what the misrepresentation even was. AC ¶ 91.
   8   And the alleged “misleading statements” that occurred after Plaintiff sold its
   9   general partner interest in Platinum, i.e., those regarding “Huarong’s intentions of
  10   transferring its 55% interest in SHNT and Jagex to the Plaintiff,” had nothing to do
  11   with Platinum, and Plaintiff makes no suggestion otherwise. Id.
  12         Plaintiff may argue that Platinum’s acts were violative of RICO’s bribery
  13   provisions, but the AC does not attempt to plead Platinum’s involvement in bribery
  14   of “a public official,” as required by the statute. 18 U.S.C. § 201. At most, the AC
  15   insists that Platinum gave “clear bribes” to Jagex employees, AC ¶ 35(2), but even
  16   if that were true (and it is not, they were given bonuses), Jagex employees are not
  17   “public officials” under the law. 18 U.S.C. § 201(a)(1). Furthermore, Plaintiff’s
  18   conclusory assertion that employee bonuses were “bribes” “does not tend to
  19   exclude a plausible and innocuous alternative explanation,” like a company
  20   rewarding its management team after the closing of a big deal. See Eclectic
  21   Properties, 751 F.3d at 998.
  22                       b.     The AC Does Not Allege That Plaintiff Was
  23                              Proximately Injured by Platinum’s Overt Acts

  24         To have civil RICO standing under section 1964(c), a “plaintiff must show:
  25   (1) that his alleged harm qualifies as injury to his business or property; and (2) that
  26   his harm was ‘by reason of’ the RICO violation.” Canyon Cty. v. Syngenta Seeds,
  27   Inc., 519 F.3d 969, 972 (9th Cir. 2008) (citation omitted). “RICO does not provide
  28   a cause of action for all types of injury to property interests, but only for injuries
                                                 - 15 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 23 of 30 Page ID #:672



   1   resulting in ‘concrete financial loss.’” Diaz, 420 F.3d at 898 (citation omitted).
   2   “Without a harm to a specific business or property interest—a categorical inquiry
   3   typically determined by reference to state law—there is no injury to business or
   4   property within the meaning of RICO.” Id. at 900. An expectancy interest alone is
   5   insufficient. See Hill v. Opus Corp., 841 F. Supp. 2d 1070, 1090 (C.D. Cal. 2011).
   6         For proximate cause, the “central question” is “whether the alleged violation
   7   led directly to the plaintiff’s injuries.” Anza v. Ideal Steel Supply Corp., 547 U.S.
   8   451, 461 (2006); see also, e.g., Hemi Grp., LLC v. City of New York, 559 U.S. 1,
   9   10–12 (2010) (reaffirming that “in the RICO context, the focus is on the directness
  10   of the relationship between the conduct and the harm,” and dismissing RICO claims
  11   because plaintiff’s “theory of causation is far too indirect”); In re Volkswagen
  12   “Clean Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 2019 WL 4581340, at
  13   *10 (N.D. Cal. Sept. 20, 2019) (rejecting foreseeability in favor of the directness
  14   standard and holding that because the alleged injuries were “well beyond the first
  15   step in the causal chain,” proximate cause was lacking).
  16         Here, Plaintiff avers only that it was generally “injured in its business and
  17   property” by the “Defendants” who “proximately caused” those undefined injuries.
  18   AC ¶ 93. Those conclusory allegations do not satisfy Rule 9(b), but also fail under
  19   Rule 8(a), because “mere recitations of the causation element of the RICO claim do
  20   not provide sufficient grounds for entitlement to relief.” In re Actimmune Mktg.
  21   Litig., 614 F. Supp. 2d 1037, 1051 (N.D. Cal. 2009), aff’d, 464 F. App’x 651 (9th
  22   Cir. 2011).
  23         To the extent that Plaintiff claims it was injured by interference with its
  24   prospective business relations, Plaintiff notably only alleges that tort against Yan,
  25   not Platinum, see AC ¶¶ 120-27, and does not even attempt to plead the elements of
  26   that claim against Platinum. See, e.g., Kamal v. Cty. of Los Angeles, 2019 WL
  27   7195903, at *4 (C.D. Cal. Nov. 26, 2019) (to plead a claim for interference with
  28   prospective relations a plaintiff must show, among other elements, an “existing
                                               - 16 -
                     DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 24 of 30 Page ID #:673



   1   economic relationship between plaintiff and a third party, with the probability of
   2   future economic benefit” and “intentional acts on the part of defendant designed to
   3   disrupt that relationship.”).
   4         Plaintiff alleges that Huang (and his agents) made misrepresentations to
   5   Plaintiff about “Yan’s involvement with the transaction,” but even if those
   6   misrepresentations could be imputed to Platinum (and as discussed above, they
   7   cannot), they have no “direct connection” to Plaintiff’s alleged injury, as they are
   8   alleged to have done little more than delay Plaintiff’s exit from Platinum. See AC
   9   ¶¶ 31-32. The alleged misrepresentations therefore are not the actual cause of
  10   Plaintiff’s supposed injuries, because “but-for” the alleged misrepresentations,
  11   Plaintiff still would have voluntarily chosen to separate from Platinum in any event,
  12   and therefore still would not have acquired Jagex. To the extent Plaintiff was
  13   delayed in making that voluntary decision, it does not and cannot explain how that
  14   delay harmed it, particularly given the subsequent and superseding alleged
  15   wrongdoings by others that purportedly deprived Plaintiff of acquiring Jagex. Put
  16   simply, even if Plaintiff had possessed a cognizable property interest in Jagex at the
  17   time of Platinum’s acquisition, and it did not, Platinum’s alleged wrongdoing is far
  18   too attenuated from Plaintiff’s purported injury to state a claim. See Anza, 547 U.S.
  19   at 459–60 (“The element of proximate causation . . . is meant to prevent these types
  20   of intricate, uncertain inquiries from overrunning RICO litigation. It has particular
  21   resonance when applied to claims brought by economic competitors, which, if left
  22   unchecked, could blur the line between RICO and the antitrust laws.”).
  23                       c.     Even if Plaintiff Had Standing to Allege Its RICO
  24                              Conspiracy Claim, the AC Fails to State a Claim
                                  Under Section 1962(d)
  25
  26         To establish a violation of Section 1962(d), the plaintiff “must allege facts
  27   that show the existence of an agreement between two or more persons that clearly
  28   amounted to a meeting of the minds.” Bulan v. JP Morgan Chase Bank, 2011 WL
                                               - 17 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 25 of 30 Page ID #:674



   1   13266527, at *7 (N.D. Cal. Apr. 6, 2011). This agreement must be comprised of
   2   two separate agreements: “an agreement to conduct or participate in the affairs of
   3   an enterprise and an agreement to the commission of at least two predicate acts.”
   4   Baumer v. Pachl, 8 F.3d 1341, 1346 (9th Cir. 1993). In addition, conspiracy to
   5   violate RICO requires a showing that the defendant “was aware of the essential
   6   nature and scope of the enterprise and intended to participate in it.” Id. (citation
   7   omitted).
   8         Here, Plaintiff does not allege any facts showing how Platinum entered into a
   9   conspiracy to “divert money from Jagex to [its] own benefit, to facilitate the
  10   payment of bribes in an effort to defraud Plaintiff and other investors, and to ensure
  11   the Defendant Yan maintained control of Jagex.” AC ¶ 90. Instead, Plaintiff once
  12   again group pleads in a conclusory fashion that “Defendants agreed to the overall
  13   objectives of Yan.” Id. ¶ 92. But again, “[c]onclusory allegations that RICO
  14   defendants entered into an agreement are insufficient” to state a claim, Lavigne v.
  15   Herbalife, LTD, 2019 WL 6721619, at *9 (C.D. Cal. Oct. 22, 2019) (citation
  16   omitted), and, in any event, the AC does not allege that Platinum ever agreed to
  17   conduct the affairs of the enterprise or to commit at least two predicate acts in
  18   furtherance of a conspiracy. Baumer, 8 F.3d at 1346. And the claim that “[t]he
  19   conspiracy commenced at least as early as 2018,” AC ¶ 89, further confuses things
  20   because Platinum was not formed until April 11, 2019—and when it was formed, it
  21   was formed by Plaintiff and Plaintiff served as its general partner until February 25,
  22   2020. Id. ¶¶ 23, 32. Platinum doubts that Plaintiff is claiming it (as the operating
  23   partner) entered into a conspiracy agreement on Platinum’s behalf, though it is
  24   impossible to tell given the AC’s puzzle pleading.
  25                2.     Plaintiff Fails to Allege Platinum Received Stolen Goods.
  26         With no viable path under the RICO statute, Plaintiff turns to a novel
  27   construction of the California Penal Code to allege that Platinum (as well as now-
  28   dismissed Defendant Carlyle) “received and/or concealed stolen property”—i.e.,
                                                - 18 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 26 of 30 Page ID #:675



   1   Jagex—or “aided and abetted” others in doing so in violation of Section 496(a).
   2   AC ¶ 134. Under “California law, the crime of ‘receipt of stolen property’ . . .
   3   consists of three elements: (a) the property was stolen, and (b) the defendant was in
   4   possession of it, (c) knowing it was stolen,” Verdugo-Gonzalez v. Holder, 581 F.3d
   5   1059, 1061 (9th Cir. 2009) (citing People v. Anderson, 210 Cal. App. 3d 414, 420
   6   (1989)), and “[anyone] who has been injured” by the purchase or receipt of stolen
   7   property may bring a claim for treble damages. See Cal. Pen. Code § 496(c).
   8         As noted above, Plaintiff’s stolen property claim fails because it does not
   9   meet the requirements of Rule 9(b) for alleging fraud. But it also fails for several
  10   other reasons.
  11         First, the California Legislature never intended for Section 496 to apply to
  12   fraud-theft claims, because it was enacted as a means “to dry up the market for
  13   stolen goods.” Siry Inv., L.P. v. Farkhondehpour, 45 Cal. App. 5th 1098, 1136
  14   (2020) (citation omitted). 8 For this reason, courts have rejected the application of
  15   Section 496(c) in cases “where the plaintiff merely alleges and proves conduct
  16   involving fraud, misrepresentation, conversion, or some other type of theft that does
  17   not involve ‘stolen’ property.” Id. at 1134 (collecting cases). Indeed, to do
  18   otherwise would “transmogrify the law of remedies” by permitting treble damages
  19   for any tort involving property. Id. at 1135. Plus, the punitive damages statutes
  20   would effectively be repealed if courts allowed treble recovery under
  21   preponderance of evidence standards instead of through proof of “oppression,
  22   fraud, or malice” by clear and convincing evidence. Id. at 1136. Thus, granting
  23   Plaintiff use of the penal code for an ordinary (yet baseless) business dispute would
  24   be entirely improper. GEC US 1 LLC v. Frontier Renewables, LLC, 2016 WL
  25   4677585, at *9 (N.D. Cal. Sept. 7, 2016) (refusing to “sanction the use of the penal
  26   8
         The California Supreme Court granted review of Siry to resolve a conflict in the
  27   appellate courts on this issue. Siry Inv. v. Farkhondehpour, 468 P.3d 701 (Cal.
       2020). Until then, the Siry court’s analysis on this issue is the most persuasive and
  28   therefore this Court should follow its reasoning.
                                               - 19 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 27 of 30 Page ID #:676



   1   code to redress ordinary business disputes over ownership interests – an untenable
   2   result.”).
   3          Second, Plaintiff has no standing to sue under Section 496(a) because it was
   4   not plausibly injured by Platinum’s purported “receipt” of “stolen goods.” Plaintiff
   5   alleges that Platinum “received” Jagex at some point in April 2020, AC ¶¶ 32,
   6   35(2), but there are no allegations to show that Plaintiff had a cognizable property
   7   interest in Jagex at that time, and therefore it could not have been injured by
   8   Platinum’s acquisition. Furthermore, Plaintiff admits that it voluntarily sold its
   9   interest in Platinum in February 2020, id. ¶¶ 31-32, before Platinum’s acquisition of
  10   Jagex was even completed, and today retains certain benefits from the acquisition.
  11   Id. ¶ 32 n.9 (Plaintiff asserts that it “has rights under the [Membership Unit
  12   Purchase Agreement with MacArthur] . . . should any Court ultimately rule that
  13   Platnium (sic) legally acquired SHNT and Jagex”). It defies logic that Plaintiff
  14   could voluntarily sell its general partner interest in Platinum to MacArthur, at a
  15   time it knew full well Platinum was purchasing SHNT and Jagex, id. ¶ 32, receive
  16   benefits from that acquisition, and now claim to have been harmed by it.
  17          Third, the AC does nothing to show that Platinum “had actual knowledge
  18   that the goods it received or sold were in fact stolen.” Freeney v. Bank of Am.
  19   Corp., 2016 WL 5897773, at *12 (C.D. Cal. Aug. 4, 2016). As it does throughout
  20   the AC, Plaintiff alleges in conclusory fashion that “both Platinum and The Carlyle
  21   Group knew that Jagex had been stolen,” AC ¶ 140, but such formulaic recitations
  22   of the elements of a cause of action are to be disregarded. Twombly, 550 U.S. at
  23   555. Further, in other places the AC concedes that Platinum’s acquisition of SHNT
  24   and Jagex was lawful. AC ¶ 32 n.7 (stating that an English court adjudicated and
  25   then dismissed a dispute over claims of ownership in Jagex); id. at n.8 (stating that
  26   “the Shanghai Stock Exchange [] validate[d] the legality of the sale of SHNT to
  27   Platnium (sic)”); id. ¶ 32 n.9 (reserving rights should “any Court ultimately rule
  28   that Platnium (sic) legally acquired SHNT and Jagex”).
                                               - 20 -
                    DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 28 of 30 Page ID #:677



   1         Indeed, the AC does not even allege facts to establish that Jagex was, in fact,
   2   “stolen.” Though Plaintiff suggests that Jagex was stolen in a manner constituting
   3   “theft by false pretense[s],” id. ¶ 138, Plaintiff completely fails to plead the
   4   elements of that crime. See People v. Wooten, 44 Cal. App. 4th 1834, 1842 (1996)
   5   (“A theft conviction on the theory of false pretenses requires proof that (1) the
   6   defendant made a false pretense or representation to the owner of property; (2) with
   7   the intent to defraud the owner of that property; and (3) the owner transferred the
   8   property to the defendant in reliance on the representation.”). Once again, and in
   9   violation of Rule 9(b), Platinum is left guessing as to what the “false pretenses”
  10   could be, when they were made, or who purportedly made them. And while
  11   Plaintiff alleges misrepresentations by Huang, Platinum’s limited partner, or
  12   Huang’s agents, AC ¶¶ 28, 31, those purported misrepresentations were to Plaintiff,
  13   not the “owner of [the Jagex] property,” Fukong. Id. ¶ 21; see Wooten, 44 Cal.
  14   App. 4th at 1842. In any event, as discussed above, Plaintiff fails to describe any
  15   misrepresentations by Platinum, the entity, and misrepresentations by its limited
  16   partner (or a limited partner’s agents) cannot be imputed to the limited partnership.
  17   In re Packaged Seafood, 338 F. Supp. 3d at 1184 n.36. Likewise, under the second
  18   and third elements, Plaintiff does not allege facts showing that Platinum “intended
  19   to defraud” Fukong (the then-owner of Jagex) or that Fukong transferred its
  20   interests in Jagex to Platinum “in reliance on” any alleged misrepresentation. See
  21   Wooten, 44 Cal. App. 4th at 1842.
  22         The AC alleges that Platinum acquired Jagex in violation of a Chinese court
  23   order, AC ¶ 35(2), but does not allege how that renders Jagex “stolen” under
  24   California Penal Code § 484(a). And even if simply violating a Chinese court order
  25   converted Jagex into “stolen property” (it does not), the AC itself contradicts the
  26   claim that Platinum violated the order in the first place. As the AC alleges, the
  27   Chinese court actually “lift[ed] the freezing of 100% equity of [SHNT],” meaning
  28   Platinum was free to acquire that equity. AC ¶ 38.
                                                - 21 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 29 of 30 Page ID #:678



   1         Moreover, to trigger Section 496, “[t]he property must be stolen at the time it
   2   is received or concealed.” Hennessy v. Infinity Ins. Co., 358 F. Supp. 3d 1074,
   3   1081 (C.D. Cal. 2019). Plaintiff does not allege that Jagex had the character of
   4   being “stolen” at the time Platinum acquired it from Fukong, but instead claims that
   5   Platinum was the one who stole it. AC ¶ 35(2) (“Platinum . . . unlawfully seized
   6   control of Jagex . . .”). If Platinum supposedly stole Jagex, it could not have also
   7   “received” that stolen property. See Instant Brands, Inc. v. DSV Sols., Inc., 2020
   8   WL 5947914, at *5 (C.D. Cal. Aug. 20, 2020) (dismissing Section 496 claim
   9   because plaintiff did not allege that the property was stolen at the time it was
  10   unlawfully withheld); Grouse River Outfitters Ltd v. NetSuite, Inc., 2016 WL
  11   5930273, at *15 (N.D. Cal. Oct. 12, 2016) (noting the dual liability issue of
  12   convicting a person for both stealing property and then receiving that same stolen
  13   property). Plaintiff does not sufficiently allege that Jagex was stolen property or
  14   that Platinum knew that it was and therefore fails to state the elements of a receipt
  15   of stolen property claim.
  16         Fourth, the stolen property claim fails because the California Penal Code has
  17   no application to the wholly extraterritorial conduct at issue. See generally Cal.
  18   Penal Code § 777 (a “person is liable to punishment by the laws of this State, for a
  19   public offense committed by him therein”) (emphasis added); see also United States
  20   v. Perez, 962 F.3d 420, 440 (9th Cir. 2020) (“California's jurisdictional statutes and
  21   case law explicitly rule out punishing an act committed entirely in another
  22   country[.]”). Put simply, even if Platinum had “stolen” Jagex, that “stealing” would
  23   have occurred in China, where the company auction occurred, AC ¶ 22 (calling the
  24   Jagex sale a “regulated Chinese auction”), or in England, where the “stolen
  25   property,” i.e., Jagex, is headquartered, id. ¶ 8—not in California. Because Section
  26   496 has no application to foreign fraud-theft claims like this one, Plaintiff’s claim is
  27   not even actionable.
  28
                                                - 22 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
Case 8:21-cv-00133-JVS-JDE Document 38 Filed 06/14/21 Page 30 of 30 Page ID #:679



   1   IV.   CONCLUSION
   2         The AC represents Plaintiff’s second attempt to plead a claim against
   3   Platinum, but for the reasons discussed above, it again fails to satisfy the
   4   requirements of Rule 9(b) and Rule 8(a), and therefore must be dismissed. Because
   5   Plaintiff could never aver the specific facts required to state a RICO claim against
   6   Platinum, and because the Section 496 “stolen goods” claim has no place in this
   7   business dispute, the claims should be dismissed with prejudice.
   8
   9   Dated: June 14, 2021              Respectfully submitted,
  10                                     ORRICK, HERRINGTON & SUTCLIFFE LLP

  11
                                         By:           /s/ James N. Kramer
  12                                                  JAMES N. KRAMER
  13                                                 Attorneys for Defendant
                                                    PLATINUM FORTUNE, LP
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                - 23 -
                   DEFENDANT PLATINUM’S MOTION TO DISMISS AMENDED COMPLAINT
